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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


ZIPIT WIRELESS, INC.,

       Plaintiff,
                                                    Civil Action No. ____________
       v.

BLU PRODUCTS, INC.;                                 JURY TRIAL DEMANDED
GOOGLE LLC;
MOTOROLA MOBILITY LLC;
NOKIA OF AMERICA CORPORATION;
PANASONIC CORPORATION OF
AMERICA;
SONY MOBILE COMMUNICATIONS (USA)
INC.; and
TTE TECHNOLOGY, INC. (d/b/a TCL
NORTH AMERICA and TCL USA).

       Defendants.



                       COMPLAINT FOR PATENT INFRINGEMENT
       Plaintiff, Zipit Wireless, Inc., for its Complaint against Defendants BLU Products, Inc.,

Google LLC, Motorola Mobility LLC, Nokia of America Corporation, Panasonic Corporation of

North America, Sony Mobile Communications (USA) Inc., and TTE Technology, Inc. (d/b/a/TCL

North America and TCL USA), alleges as follows:

                                       INTRODUCTION

       1.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code.




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                                          THE PARTIES

         2.    Plaintiff, Zipit Wireless, Inc. (hereinafter “Zipit”) is a Delaware Corporation with a

principal place of business located at 101 North Main Street, Suite 201, Greenville, South Carolina

29601.

         3.    On information and belief, Defendant BLU Products, Inc. is a Delaware

corporation. On information and belief, Defendant BLU Products, Inc.’s registered agent is The

Company Corporation, 251 Little Falls Drive, Wilmington, Delaware 19808.

         4.    On information and belief, Defendant Google LLC is a Delaware limited liability

company. On information and belief, Defendant Google LLC’s registered agent is The

Company Corporation, 251 Little Falls Drive, Wilmington, Delaware 19808

         5.    On information and belief, Defendant Motorola Mobility LLC is a Delaware

limited liability company. On information and belief, Defendant Motorola Mobility LLC’s

registered agent is The Corporation Trust Company, Corporation Trust Center, 1209 Orange

Street, Wilmington, Delaware 19801.

         6.    On information and belief, Defendant Nokia of America Corporation is a

Delaware corporation. On information and belief, Defendant Nokia of America Corporation’s

registered agent is Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware

19808.

         7.    On information and belief, Defendant Panasonic Corporation of North America is

a Delaware corporation. On information and belief, Defendant Panasonic Corporation of North

America’s registered agent is The Corporation Trust Company, Corporation Trust Center, 1209

Orange Street, Wilmington, Delaware 19801.




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        8.     On information and belief, Defendant Sony Mobile Communications (USA) Inc.

is a Delaware corporation. On information and belief, Defendant Sony Mobile Communications

(USA) Inc.’s registered agent is Capitol Services, Inc., 1675 S. State Street, Suite B, Dover,

Delaware 19901.

        9.     On information and belief, Defendant TTE Technology, Inc. (d/b/a TCL North

America and TCL USA) is a Delaware corporation. On information and belief, Defendant TTE

Technology, Inc.’s registered agent is Business Filings Incorporated, 108 West 13th Street,

Wilmington, Delaware 19801.

                                         JURISDICTION
        10.    This Court has subject matter jurisdiction over all causes of action set forth herein

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the patent laws of the

United States, Title 35, United States Code, including 35 U.S.C. §271 et seq.

        11.    Defendants are in the business of supplying instant messaging devices, such as

smartphones, in and throughout the United States, including in this State and in this judicial

district.

        12.    This Court may properly exercise personal jurisdiction over each of the

Defendants.

        13.    Defendants have solicited business in this State, transacted business within this

State and attempted to derive financial benefit from residents of this State, including benefits

directly related to the instant patent infringement cause of action set forth herein.

        14.    Defendants have made, used, sold, offered for sale, and/or imported instant

messaging devices or wireless mobile communications devices, such as smartphones, in this

judicial district and/or have placed such phones into the stream of commerce with the knowledge

and intent that such phones have been offered for sale, sold, and/or used in this State and this

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judicial district. On information and belief, Defendants’ customers in this State have purchased

and used and continue to purchase and use Defendants’ products.

        15.     At the time of filing of this Complaint, Defendants’ smartphones are available for

purchase by consumers in this State, including within this judicial district.

        16.     This Court has personal jurisdiction over Defendants because: (i) Defendants have

and continue to intentionally sell products and methods, including the infringing methods, to

customers in this State; (ii) Defendants have and continue to intentionally instruct customers and

potential customers in this State with respect to how to use the products and methods that

Defendants sell to customers in this State; (iii) Defendants know and have known their products and

methods, including the infringing methods, have and continue to be sold and marketed in this State;

(iv) Defendants know and have known that their manufactured products and methods will enter the

United States of America and this State; (v) Defendants have and continue to target customers and

potential customers in this State to buy and/or use Defendants’ products and methods, including the

infringing methods; (vi) Defendants have and continue to provide advice to customers in this State;

(vii) it has been and continues to be foreseeable that Defendants’ products and methods, including

the infringing methods, would enter this State; (viii) Defendants have and continue to market to

citizens of this State through their respective websites; (ix) Defendants have and continue to provide

services to citizens of this State through their respective websites; (x) Defendants derive substantial

revenue from this State; (xi) this State has and continues to be part of Defendants’ established

distribution channels; (xii) the assertion of personal jurisdiction over Defendants is reasonable and

fair; (xiii) and this State has an interest in this matter due to the presence of Defendants’ products

and methods, including the infringing methods, in this State.




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        17.     Venue is this district is proper pursuant to 28 U.S.C. §1331, §1338, §1391, and

§1400 at least because Defendants are Delaware entities and Defendants have committed acts of

infringement in this judicial district.

                                          BACKGROUND

                                          Zipit’s Technology

        18.     Zipit has and continues to offer for sale Wi-Fi based instant messaging solutions.

Zipit’s first product, the Zipit Wireless Messenger:




was introduced in 2004 and was sold through major retailers including Target, Best Buy, Radio

Shack, and Amazon and received press coverage in the Chicago Tribune, the New York Times,

and many media outlets.

        19.     In 2007, Zipit introduced its second-generation Wi-Fi based instant messaging

device known as “Z2”:




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       20.     In 2011, Zipit launched an enterprise messaging solution in conjunction with a

major U.S. cellular carrier and is actively selling this solution into healthcare, hospitality, ems,

manufacturing, utility, and government accounts. Zipit’s solution has been deployed in over 250

enterprise customers across the U.S. and Zipit’s customer base continues to grow monthly.

                                  Zipit’s Awards And Notoriety

       21.     In 2005, Time Magazine awarded Zipit’s first Wi-Fi instant messaging device

(“Zippy”) Time’s “The Most Amazing Inventions of 2005” Award:




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To determine the award winners, Time Magazine “spent more than six months surveying fields

as diverse as electronics, aeronautics, medical technology, sports equipment, toys, clothing and

food looking for the newest-and most inspired-ideas of the year.”

       22.     Zipit’s “Zippy” instant messaging device also won an award from iParenting

Media in 2006.

       23.     Zipit’s “Zippy” Wi-Fi instant messaging device also received praise and acclaim

in media across the United States and the World in at least the Chicago Tribune “Zipit is king of

messengers” (March 3, 2005); the New York Times “Making an Easy Task, Instant Messaging,

Even Easier.” (March 10, 2005); the New York Times “Making an Easy Task, Instant

Messaging, Even Easier.” (March 21, 2005) (Online Edition); the Austin American-Statesman

“Gadgets: … Instant messaging with no extra charges” (March 21, 2005); ABC12.com “Zipit

Wireless Messenger” (Aug. 15, 2005); ABC12.com “Zipit Wireless Messenger” (Aug. 22,

2005); The Greenville News (Dec. 5, 2004); Parade “a brilliant little device” (April 24, 2005);

Univision.com; ym.com “What’s Hot: March 15, 2005” (March 17, 2005); Gizmodo “Perfect for

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the IM addict” (July 19, 2005); Gizmodo “Teacher’s Worst Nightmare - Aeronix ZipIt” (Sept.

29, 2005); HeraldToday.com (“Zipit rules wireless messenging world”) (March 10, 2005); HUB:

Digital Living (March 2005); New York Daily News “Hot, hotter, hottest: The Definitive guide

to who and what is sexy right now” “Gadgets” (April 3, 2005); and the St. Petersburg Times

“2005 Annual Gadget Guide From Apple to Zipit” “For the good times” (Nov. 28, 2005).

       24.    Zipit’s second version of its Wi-Fi instant messaging device, “Z2,” also was

widely praised and acclaimed. In 2007, PC Magazine awarded Zipit’s “Z2” the “Winner” of its

“Best of Show” award at the Digital Life show in the category of “Portable Gear.” Zipit’s “Z2”

also won another award from iParenting Media in 2008.

       25.    Zipit’s “Z2” Wi-Fi instant messaging device, also was praised in at least the

following media sources: PC Magazine DigitalLife 2007 “Best of Show” (Sept. 28, 2007);

DigitalLife’s “Best of Show Award” (Oct. 2, 2007); 2013 iParenting Media Awards – Winner –

Zipit Wireless Messenger 2 (April 30, 2008); 2014, Video – Z2 Highlight Reel (The Today

Show; USA Today; Associated Press Article; The Washington Post; The Boston Globe; Houston

Chronicle; The Philadelphia Inquirer; The Kansas City Star; The Miami Herald; San Francisco

Chronicle; Orlando Sentinel; Rocky Mountain News; ABC Television Channel 7; CNN

Television; FOX News FOX & Friends; The New York Times; Pittsburgh Post-Gazette; MTV

Television; Yahoo! Tech; CNET; eva; The Montel Williams Television Show; NBC Channel 5;

LINUX Journal; WNN Wi-Fi News; Digital Tech News’; Wireless Week; electronista; I40

News; Best stuff; FOX & Friends (2015); The Montel Williams Show (Dec. 6, 2006; WABC –

New York Channel 7 (Dec. 17, 2006); FOX Business (March 19, 2008); The Today Show (Jan.

6, 2008); MTV; The Detroit News – “In our opinion - Zipit Z2 perfect for kids” (June 30, 2008);

the Akron Beacon, Ohio.com (April 14, 2008); the Arizona Star (April 3, 2008); the



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BaltimoreSun.com (April 17, 2008); The Record NorthJersey.com “Kids and their parents will

love the Z2 messaging device” (April 12, 2008); TheStreet.com “Instant Messaging With Mass

Appeal” (Dec. 7, 2007); Digital Life “Digital Life Announces the DigitalLife Innovators Class of

2007” (Sept. 24, 2007); E-Gear “Is Anybody Out There” (April 9, 2008); Gizmodo “Zipit Z2

Wireless Messenger Lets Teens IM For Free” (Nov. 7, 2007); GoErie.com “ Txt all d tym” “IM

friends without tying up computer” (April 11, 2008); CBS4Denver.com “One of the best

products for teens, tweens and their parents” (2007); InfoSyncWorld.com “Zipit Z2 Wireless

Messenger sends IMs without PC or phone” “it has a dedicated smiley button, which we have

never seen before, but now we want on our Treo :-)” (Nov. 7, 2007); InsignifacantThoughts.com

(Sept. 28, 2007); KansasCity.com “Better Messages” (Dec. 6, 2007); LinuxDevices.com (Nov. 9,

2007); MiamiHerald.com (Oct. 18, 2007); ny1.com (Sept. 27, 2007); NYTimes.com (Oct. 4,

2007); PCMag.com.br (Sept. 28, 2007); PC.Watch.Impress.co.JP (Dec. 9, 2007); Yahoo! News

(Sept. 27, 2007); Register Hardware UK (Nov. 7, 2007); SlashGear.com (Sept. 27, 2007);

StarTelegram.com “High-tech hobbies” (Oct. 14, 2007); the Minneapolis StarTribune.com (Oct.

8, 2007); DailyHerald.com (June 23, 2008); The Gazette Canada.com (Oct. 11, 2007);

TheStreet.com “Instant Messenger With Mass Appeal” “a must-have for travelers” (Dec. 7

2007); TimeforKids.com (Nov. 26, 2007); Twice.com (Sept. 27, 2007); ABCNews.com (Nov. 2,

2007); ABCNews: The Ultimate Gift Guide (Nov. 8, 2007); Adweek Magazine “Top 10 Trends

of 2007” (Dec. 17, 2007); BlogStuff.com (Nov. 26, 2007); Blog-SciFi.com (Sept. 27, 2007);

Brighthand.com (Sept. 30, 2007); CBS Tech Toys Review (Oct. 16, 2007); and The Charlotte

Observer Charlotte.com (Oct. 21, 2007).




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       Wi-Fi Instant Messaging Devices With Emoticons Drive Purchasing Decisions

       26.     Prior to the existence of Wi-Fi instant messaging, carriers typically charged up to

$0.20 per text, or $20.00 per month for unlimited texting. Thanks to Wi-Fi based instant

messaging, however, consumers no longer had to pay for individual instant messages or monthly

service plans. As a result, by 2016, it was estimated that consumers saved $54 billion through

the use of Wi-Fi instant messaging instead of from SMS-based instant messaging.

       27.     Instant messaging has been and continues to be the single most important

smartphone feature. Indeed, many potential customers are unlikely to purchase a smartphone

that is not able to generate an instant message comprising an emoji/graphical symbol (J, L) that

is sent over Wi-Fi.

       28.     Using a handheld device, such as a smartphone, to send instant messages that

contain emojis is a major and growing form of communication among an incredibly large

demographic. Indeed, this is reflected by Oxford Dictionary’s “word” of the year for 2015,

which was the “face with tears of joy” emoji:




Oxford Dictionary selected the emoji as its “word” of the year because the emoji was “the ‘word’

that best reflected the ethos, mood, and preoccupations of 2015.” It is further reflected by the

creation of “World Emoji Day,” which is held annually on July 17.




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                                        ZIPIT’S PATENTS

        29.    The United States Patent and Trademark Office awarded Zipit two patents on its

highly acclaimed “Instant Messaging Terminal Adapted For Wi-Fi Access Points,” U.S. Patent

No. 7,292,870 and U.S. Patent No. 7, 894,837.

                                 Zipit’s U.S. Patent No. 7,292,870

        30.    On November 6, 2007, the United States Patent and Trademark Office duly and

legally issued United States Patent No. 7,292,870, entitled “Instant Messaging Terminal Adapted

For WI-FI Access Points.” A true and correct copy of U.S. Patent No. 7,292,870 is attached

hereto as Exhibit “A.”

        31.    Zipit is the owner, by assignment, of all right, title, and interest in and to U.S.

Patent No. 7,292,870 (hereinafter the “ʼ870 Patent”), including the right to sue for past, present,

and future patent infringement, and to collect past, present, and future damages.

        32.    The ʼ870 patent complies with the Patent Act, including 35 U.S.C. §101, 35

U.S.C. §102, 35 U.S.C. § 103, and 35 U.S.C. §112.

        33.    On July 16, 2013, the Patent Office issued a Certificate of Correction for the ʼ870

patent. Exhibit “B.”

        34.    Each and every claim of the ʼ870 patent is valid and enforceable.

        35.    The ʼ870 patent and its claims are entitled to the benefit of the date upon which

Zipit filed its provisional patent application 60/532,000, which was filed on December 24, 2003.

        36.    As the invention(s) claimed in the ʼ870 patent were conceived no later than April

2003, the claims of the ʼ870 patent are further entitled to a priority date of no later than April

2003.




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                                          IPR2014-01507

       37.     On March 30, 2015, the Patent Trial and Appeal Board (“PTAB”) of the United

States Patent and Trademark Office instituted an Inter Partes Review (“IPR”) of the ʼ870 patent.

       38.     On June 22, 2015, Zipit filed its “Patent Owner’s Response Under 37 C.F.R. §

42.120.”

       39.     On March 29, 2016, the PTAB issued a Final Decision that confirmed the

patentability of all claims of the ʼ870 Patent in IPR2014-01507.

       40.     All papers and pleadings filed with the PTAB for IPR2014-01507 are part of the

prosecution history of the ʼ870 Patent. Due to their size and volume, the papers and pleadings

filed with the PTAB for IPR2014-01507 are incorporated herein by reference.

                                          IPR2019-01567

       41.     On August 30, 2019, Google LLC et al. filed a Petition For Inter Partes Review

of the ʼ870 Patent, IPR2019-01567.

       42.     On March 9, 2020, the PTAB instituted IPR of the ʼ870 Patent.

       43.     On June 2, 2020, Zipit filed a Response to the Petition, requesting the PTAB to

deny the Petition.

       44.     All papers and pleadings filed with the PTAB for IPR2019-01567 are part of the

prosecution history of the ʼ870 Patent. Due to their size and volume, the papers and pleadings

filed with the PTAB for IPR2019-01567 are incorporated herein by reference.

                          No Claim Of Zipit’s ’870 Patent Is Abstract

       45.     The claims of the ʼ870 Patent are focused on an advance over the prior art such

that their character as a whole is not directed to excluded subject matter, such as an abstract idea,




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or any other subject matter excluded under 35 U.S.C. §101. For example, the claims of the ʼ870

patent are directed to improvements in computer functionality.

       46.     The PTAB determined that the combinations claimed in the claims of the ʼ870

Patent were novel and nonobvious, as did the Patent Office during its initial review of the claims.

       47.     The advancement claimed in the claims of the ʼ870 Patent includes, inter alia, an

instant messaging terminal and method that includes a housing, a display mounted in the

housing, a data entry device that affords the generation of textual characters and graphical

symbols, a wireless Internet protocol communications module, a wireless transceiver, and a

control module that includes a processor for executing an application program to implement

instant messaging and session protocols for a conversation. Such a claimed combination does

not exist in the prior art. Such a combination was not well-understood, routine, or conventional.

And such a combination constitutes a tangible, specific, concrete invention. The claimed

combination also improved the operation of computer functionality, overcoming various failures

with existing computing devices as discussed in the Background of the Invention and the

Summary of the Invention.

       48.     For example, providing the claimed combination in a handheld terminal (as

opposed to a desktop, laptop, or PDA requiring external peripheral data entry and/or display

devices) represented a significant advance in computer functionality, including allowing both

textual characters and graphical symbols to be entered/generated using a data entry device

integrated into the handheld terminal. This avoided the need for a platform to support the data

entry device during data entry. Furthermore, the claimed data entry device for

generating/entering textual characters and graphical symbols improved the efficiency of

computing devices by allowing graphical symbols to be directly entered by a user, avoiding the



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need for the computing device to translate a sequence of textual characters into a graphical

symbol prior to displaying and sending the graphical symbol.

       49.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that, after loss of a network connection,

automatically searches for a new connection and displays the conversation histories that were

active when the network connection was lost. Such a claimed combination does not exist in the

prior art. Such a combination was not well-understood, routine, or conventional. And such a

combination constitutes a tangible, specific, concrete invention. Indeed, such functionality

would have run counter to the state of the art due to concerns about the impact on battery life.

This claimed capability represented a significant advance in computer functionality. For

example, the claimed capability does not depend on user instruction to locate a connection after

connection loss. Moreover, the claimed capability of displaying active conversation histories for

active conversations terminated by loss of network connection improves upon the state of the art,

in which such conversation histories were typically lost upon termination of the user’s network

connection.

       50.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that includes a plurality of keys for graphical

symbols, each graphical symbol key including indicia identifying the graphical symbol generated

by depressing the key bearing the indicia. Such a claimed combination does not exist in the prior

art. Such a combination was not well-understood, routine, or conventional. And such a

combination constitutes a tangible, specific, concrete invention. This claimed feature also relates

to the improvement in the efficiency of computing devices discussed above allowing graphical

symbols to be directly entered by a user, avoiding the need for the computing device to translate



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a sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       51.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that includes at least one programmable key

associated with a set of characters corresponding to a graphical symbol supported by an instant

messaging service provider. Such a claimed combination does not exist in the prior art. Such a

combination was not well-understood, routine, or conventional. And such a combination

constitutes a tangible, specific, concrete invention. This claimed feature also relates to the

improvement in the efficiency of computing devices discussed above allowing graphical symbols

to be directly entered by a user, avoiding the need for the computing device to translate a

sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       52.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that stores a

profile containing network settings for a network communicating with the communications

module and the wireless transceiver through an access point. Such a claimed combination does

not exist in the prior art. Such a combination was not well-understood, routine, or conventional.

And such a combination constitutes a tangible, specific, concrete invention. This claimed

capability further improves computer operation because it permits, for example, the handheld

terminal to connect automatically to a network corresponding to a stored profile without user

intervention. See Exhibit “A,” ʼ870 Patent at 5:20-31.

       53.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that includes an



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audio player for generating sound from a downloaded file. Such a claimed combination does not

exist in the prior art. Such a combination was not well-understood, routine, or conventional.

And such a combination constitutes a tangible, specific, concrete invention. Moreover, the

provision of this capability in the claimed handheld terminal improved the operation of existing

handheld terminals by, for example, allowing users to listen to music while exchanging instant

messages (including generating/entering textual characters and graphical symbols using the data

entry device) using a single handheld terminal.

       54.     The advancement claimed in the claims of the ʼ870 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that generates

sound from files received from an Internet radio station through a wireless, Internet protocol

access point. Such a claimed combination does not exist in the prior art. Such a combination

was not well-understood, routine, or conventional. And such a combination constitutes a

tangible, specific, concrete invention. The provision of this capability in the claimed handheld

terminal improved the operation of existing handheld terminals by, for example, allowing users

to listen to sound files from an Internet radio station while exchanging instant messages

(including generating/entering textual characters and graphical symbols using the data entry

device) using a single handheld terminal.

                    The Inventions Claimed In The ’870 Patent Were Not
                        Well-Understood, Routine, Or Conventional


       55.     Prior to Zipit’s invention, instant messaging primarily transpired with desktop

computers.

       56.     Prior to Zipit’s invention, text messages were sent over a carrier’s cellular

network using SMS. Users sending and receiving text messages typically were charged for each

text, including at rates of $0.20/text or $20/month.

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       57.     Zipit’s technology allowed instant messaging by a handheld instant messaging

terminal using Wi-Fi, avoiding the expense of texting and the need to share a desktop computer

for instant messaging.

       58.     Zipit’s patented and claimed technology allowed mobile handheld devices to

directly connect to a Wi-Fi access point without using an intermediate protocol in order to send

instant messages comprising an emoji/graphical symbol (J, L) over Wi-Fi, instead of the

cellular network.

       59.     No claims of the ʼ870 Patent are unpatentable under §103. In addition, the

patentability of the claims of the ʼ870 Patent is confirmed by the overwhelming evidence of

widespread acclaim and industry praise that Patentee’s “Zippy” and “Z2” devices received. Due

to the several awards, newspaper stories, television stories, and online articles regarding Zipit’s

“Zippy” and “Z2” devices, including for example: (i) Time Magazine’s “The Most Amazing

Inventions of 2005” Award, which was awarded to Zipit Wireless, Inc. for its “Zippy” device,

(ii) the 2005 Chicago Tribune article, which declares that “Zipit Is King Of Messengers,” and

(iii) PC Magazine’s “Winner” of its 2007 “Best of Show” award in the category of “Portable

Gear,” which was awarded to Zipit for its “Z2” device, received widespread acclaim.

       60.     A nexus exists between Zipit’s “Zippy” device and the claims of the ʼ870 Patent.

       61.     A nexus also exists between Zipit’s acclaimed “Z2” device and the claims of the

ʼ870 Patent.

                            Zipit’s U.S. Patent No. 7,894,837 Patent

       62.     On February 22, 2011, the United States Patent and Trademark Office duly and

legally issued United States Patent No. 7,894,837, entitled “Instant Messaging Terminal Adapted




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For Wireless Communication Access Points.” A true and correct copy of U.S. Patent No.

7,894,837 is attached hereto as Exhibit “C.”

        63.    Zipit is the owner, by assignment, of all right, title, and interest in and to U.S.

Patent No. 7,894,837 (hereinafter the “ʼ837 Patent”), including the right to sue for past, present,

and future patent infringement, and to collect past, present, and future damages.

        64.    The ʼ837 Patent complies with the Patent Act, including 35 U.S.C. §101, 35

U.S.C. §102, 35 U.S.C. § 103, and 35 U.S.C. §112.

        65.    Each and every claim of the ʼ837 Patent is valid and enforceable.

        66.    The ʼ837 patent and its claims are entitled to the benefit of the filing date of the

ʼ870 patent (May 14, 2004) and also the date upon which Zipit filed its provisional patent

application (December 23, 2003).

        67.    As the invention(s) claimed in the ʼ837 patent were conceived no later than April

2003, the claims of the ʼ837 patent are further entitled to a priority date of no later than April

2003.

                                          IPR2014-01506

        68.    On March 30, 2015, the PTAB instituted an IPR of the ʼ837 patent.

        69.    On June 22, 2015, Zipit filed its “Patent Owner’s Response Under 37 C.F.R.

§42.120.”

        70.    On March 29, 2016, the PTAB issued a Final Decision that confirmed the

patentability of all claims of the ʼ837 Patent in IPR2014-01506.

        71.    All papers and pleadings filed with the PTAB for IPR2014-01506 are part of the

prosecution history of the ʼ837 Patent. Due to their size and volume, the papers and pleadings

filed with the PTAB for IPR2014-01506 are incorporated by reference.



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                                          IPR2019-01568

          72.   On August 30, 2019, Google LLC et al. filed a Petition For Inter Partes Review

of the ʼ837 Patent, IPR2019-01568.

          73.   On June 2, 2020, Zipit filed a Response to the Petition, requesting the PTAB to

deny the Petition.

          74.   All papers and pleadings filed with the PTAB for IPR2019-01568 are part of the

prosecution history of the ʼ837 Patent. Due to their size and volume, the papers and pleadings

filed with the PTAB for IPR2019-01568 are incorporated by reference.

                               Zipit’s ’837 Patent Is Not Abstract

          75.   The claims of the ʼ837 Patent are focused on an advance over the prior art such

that their character as a whole is not directed to excluded subject matter, such as an abstract idea,

or any other subject matter excluded under 35 U.S.C. §101.

          76.   In fact, the PTAB determined that the combinations claimed in the claims of the

ʼ837 Patent were novel and nonobvious, as did the Patent Office during its initial review of the

claims.

          77.   The advancement claimed in the claims of the ʼ837 Patent includes, inter alia, an

instant messaging terminal and method that includes a housing, a display mounted in the

housing, a data entry device that affords the generation of textual characters and graphical

symbols, a wireless Internet protocol communications module, a wireless transceiver, and a

control module that includes a processor for executing an application program to implement

instant messaging and session protocols for a conversation. Such a claimed combination does

not exist in the prior art. Such a combination was not well-understood, routine, or conventional.

And such a combination constitutes a tangible, specific, concrete invention. The claimed


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combination also improved the operation of computer functionality, overcoming various failures

with existing computing devices as discussed in the Background of the Invention and the

Summary of the Invention.

       78.     For example, providing the claimed combination in a handheld terminal (as

opposed to a desktop, laptop, or PDA requiring external peripheral data entry and/or display

devices) represented a significant advance in computer functionality, including generation of

both textual characters and graphical symbols using a data entry device integrated into the

handheld terminal. This avoided the need for a platform to support the data entry device during

data entry. Furthermore, the claimed data entry device for generating textual characters and

graphical symbols improved the efficiency of computing devices by allowing graphical symbols

to be directly entered by a user, avoiding the need for the computing device to translate a

sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       79.     The advancement claimed in the claims of the ʼ837 patent further includes, inter

alia, an instant messaging terminal and method that includes a housing, a display mounted in the

housing, a data entry device that affords the generation of textual characters and graphical

symbols, a wireless Internet protocol communications module, a wireless transceiver, and a

control module that includes a processor for executing an application program to implement at

least one instant messaging protocol for generation of instant messaging data messages that are

compatible with an instant messaging service. Such a claimed combination does not exist in the

prior art. Such a combination was not well-understood, routine, or conventional. And such a

combination constitutes a tangible, specific, concrete invention. The claimed combination also

improved the operation of computer functionality, overcoming various failures with existing



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computing devices as discussed in the Background of the Invention and the Summary of the

Invention.

       80.     For example, providing the claimed combination in a handheld terminal (as

opposed to a desktop, laptop, or PDA requiring external peripheral data entry and/or display

devices) represented a significant advance in computer functionality, including generation of

both textual characters and graphical symbols using a data entry device integrated into the

handheld terminal. This avoided the need for a platform to support the data entry device during

data entry. Furthermore, the claimed data entry device for generating textual characters and

graphical symbols improved the efficiency of computing devices by allowing graphical symbols

to be directly entered by a user, avoiding the need for the computing device to translate a

sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       81.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a plurality of keys for graphical

symbols, each graphical symbol key including indicia identifying the graphical symbol generated

by depressing the key bearing the indicia. Such a claimed combination does not exist in the prior

art. Such a combination was not well-understood, routine, or conventional. And such a

combination constitutes a tangible, specific, concrete invention. This claimed feature also relates

to the improvement in the efficiency of computing devices discussed above allowing graphical

symbols to be directly entered by a user, avoiding the need for the computing device to translate

a sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.




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       82.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes at least one programmable key

associated with a set of characters corresponding to a graphical symbol supported by an instant

messaging service provider. Such a claimed combination does not exist in the prior art. Such a

combination was not well-understood, routine, or conventional. And such a combination

constitutes a tangible, specific, concrete invention. This claimed feature also relates to the

improvement in the efficiency of computing devices discussed above allowing graphical symbols

to be directly entered by a user, avoiding the need for the computing device to translate a

sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       83.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module to generate, in

accordance with the at least one instant messaging protocol being implemented, a character

sequence corresponding to a graphical symbol in response to the depression of the programmable

key being depressed. Such a claimed combination does not exist in the prior art. Such a

combination was not well-understood, routine, or conventional. And such a combination

constitutes a tangible, specific, concrete invention. This claimed feature also relates to the

improvement in the efficiency of computing devices discussed above allowing graphical symbols

to be directly entered by a user, avoiding the need for the computing device to translate a

sequence of textual characters into a graphical symbol prior to displaying and sending the

graphical symbol.

       84.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that detects



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beacons received by the wireless transceiver from a plurality of wireless network access points

and prioritizes the detected beacons by strength of detected signal. Such a claimed combination

does not exist in the prior art. Such a combination was not well-understood, routine, or

conventional. And such a combination constitutes a tangible, specific, concrete invention. This

claimed capability improved the operation of a computing device because it, for example,

facilitates connection to the strongest wireless network access point, thereby optimizing speed

and reliability of instant messaging.

       85.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that stores a

profile containing network settings for a network communicating with the communications

module and the wireless transceiver through an access point in memory. Such a claimed

combination does not exist in the prior art. Such a combination was not well-understood,

routine, or conventional. And such a combination constitutes a tangible, specific, concrete

invention. This claimed capability further improves computer operation because it permits, for

example, the handheld terminal to connect automatically to a network corresponding to a store

profile without user intervention. See Exhibit “C,” ʼ837 patent at 5:5-15.

       86.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that includes an

audio player for generating sound from a downloaded file. Such a claimed combination does not

exist in the prior art. Such a combination was not well-understood, routine, or conventional.

And such a combination constitutes a tangible, specific, concrete invention. Moreover, the

provision of this capability in the claimed handheld terminal improved the operation of existing

handheld terminals by, for example, allowing users to listen to music while exchanging instant



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messages (including generating/entering textual characters and graphical symbols using the data

entry device) using a single handheld terminal.

       87.     The advancement claimed in the claims of the ʼ837 Patent further includes, inter

alia, an instant messaging terminal and method that includes a control module that generates

sound from files received from an Internet radio station through a wireless, Internet protocol

access point. Such a claimed combination does not exist in the prior art. Such a combination was

not well-understood, routine, or conventional. And such a combination constitutes a tangible,

specific, concrete invention. The provision of this capability in the claimed handheld terminal

improved the operation of existing handheld terminals by, for example, allowing users to listen

to sound files from an Internet radio station while exchanging instant messages (including

generating/entering textual characters and graphical symbols using the data entry device) using a

single handheld terminal.

                    The Inventions Claimed In The ’837 Patent Were Not
                        Well-Understood, Routine, Or Conventional

       88.     Prior to Zipit’s invention, handheld devices only allowed SMS text messaging

over a carrier’s cellular network.

       89.     Prior to Zipit’s invention, text messages were sent over a carrier’s cellular

network using SMS. Users sending and receiving text messages typically were charged for each

text, including at rates of $0.20/text or $20/month.

       90.     Zipit’s technology allowed instant messaging by a handheld mobile device using

Wi-Fi, avoiding the expense of texting and the need to share a desktop computer for instant

messaging.

       91.     Zipit’s patented and claimed technology allowed mobile handheld devices to

directly connect to a Wi-Fi access point without using an intermediate protocol in order to send

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instant messages comprising an emoji/graphical symbol (J, L) over Wi-Fi, instead of the

cellular network.

       92.     No claims of the ʼ837 Patent are unpatentable under §103. In addition, the

patentability of the claims of the ʼ837 Patent is confirmed by the overwhelming evidence of

widespread acclaim and industry praise that Patentee’s “Zippy” and “Z2” devices received.

Zipit’s “Zippy” and “Z2” devices received widespread acclaim, including several awards,

newspaper stories, television stories, and online articles, including for example (i) Time

Magazine’s “The Most Amazing Inventions of 2005” Award, which was awarded to Zipit

Wireless, Inc. for its “Zippy” device, (ii) the 2005 Chicago Tribune article, which declares that

“Zipit Is King Of Messengers,” and (iii) PC Magazine’s “Winner” of its 2007 “Best of Show”

award in the category of “Portable Gear,” which was awarded to Zipit for its “Z2” device, Zipit’s

“Zippy” and “Z2” devices received widespread acclaim.

       93.     A nexus exists between Zipit’s “Zippy” device and the claims of the ʼ837 Patent.

       94.     A nexus also exists between Zipit’s acclaimed “Z2” device and the claims of the

ʼ837 Patent.

                                     Zipit’s Foreign Patents

       95.     Zipit also has been awarded related foreign patents. In Europe (including

Germany, Great Britain, and France), Zipit was awarded EP 1747619B1. In Japan, Zipit was

awarded JP 5031556. And in Australia, Zipit was awarded AU 2009251161 B2.

             DEFENDANTS’ INFRINGING INSTANT MESSAGING DEVICES
       96.     On information and belief, Defendants have and continue to offer for sale, sell,

use, and import into the United States and this State smartphones with Wi-Fi capability that send




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and receive instant messages comprising an emoji/graphical symbol (J, L) (“Defendants’

infringing instant messaging devices”).

       97.     Some of Defendants’ representative infringing instant messaging devices include,

but are not limited to:

                 DEFENDANT                             REPRESENTATIVE INFRINGING
                                                               MODEL(S)
BLU Products, Inc.                                Dash L5 LTE, Studio G4, G70
Google LLC                                        Pixel, Pixel XL, Pixel 2 XL, Pixel 3 XL, Pixel
                                                  4 XL
Motorola Mobility LLC                             Moto G5, Moto G6, Moto G7, Moto G8
Nokia of America Corporation                      Nokia 5, Nokia 6, Nokia 7 plus, Nokia 7.2,
                                                  Nokia 5.3
Panasonic Corporation of North America            P77, P85, P9, Eluga i7
Sony Mobile Communications (USA) Inc.             Zperia E5, Xperia XZ Premium, Xperia 10
TTE Technology, Inc. (d/b/a TCL North             TCL Plex, TCL 10L, TCL 10 Pro
America and TCL USA)


       98.     Defendants’ infringing instant messaging devices are specifically designed to: (i)

use an Android operating system; (ii) run an instant messaging application; (iii) send and receive

instant messages; (iv) access the Google Play store; and (v) download an instant messaging

application.

       99.     Some of Defendants’ infringing instant messaging devices are smartphones that

are preloaded with one or more instant messaging application that is able to, and does, send an

instant message comprising an emoji/graphical symbol (J, L) over Wi-Fi. Defendants provide

their customers and potential customers with instructions on how to use their instant messaging

devices in the United States and in this State.

       100.    Some of Defendants’ infringing instant messaging devices are smartphones that

are Wi-Fi capable that are not preloaded with an instant messaging application. Instead of

preloading an instant messaging application on the smartphone, Defendants instruct their

customers to download an instant messaging application from an application store, such as for
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example Google Play store. Defendants provide their customers and potential customers with

instructions on how to use these instant messaging devices in the United States.

       101.    On information and belief, Defendants’ infringing instant messaging devices are

smartphones that have been and continue to be offered for sale, sold, used, and imported into the

United States and this State preloaded with an instant messaging application, such as for

example, “Hangouts.” The “Hangouts” application allows Defendants’ smartphones to send

instant messages comprising an emoji/graphical symbol (J, L) over Wi-Fi.

       102.    On information and belief, Defendants knowingly and intentionally encourage

end users to download third party instant messaging applications onto one or more of

Defendants’ smartphones so that an end user is able to use one or more of Defendants’

smartphones to send instant messages comprising an emoji/graphical symbol (J, L) over Wi-Fi.

On information and belief, some of these third-party instant messaging applications also may be

preloaded onto Defendants’ smartphones. These instant messaging apps allow Defendants’

smartphones to send instant messages comprising an emoji/graphical symbol over Wi-Fi.

       103.    On information and belief, Defendants are stealing Zipit’s patented technology to

illegally make money in the United States and in this State. On information and belief,

Defendants illegally make money by, for example, (i) selling smartphones that could not

otherwise be sold if they were unable to send an instant message containing an emoji/graphical

symbol (J,L) over a Wi-Fi connection; (ii) selling instant messaging applications that allow a

smartphone to send an instant message containing an emoji/graphical symbol (J,L) over a Wi-

Fi connection; (iii) selling advertisements that are displayed during an end user’s use of an

instant messaging application that is able to send an instant message containing an

emoji/graphical symbol (J,L) over a Wi-Fi connection; (iv) selling features in an instant



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messaging application that allows a smartphone to send an instant message containing an

emoji/graphical symbol (J,L) over a Wi-Fi connection; and (v) selling information about end

users who use an instant messaging application to send an instant message containing an

emoji/graphical symbol (J,L) over a Wi-Fi connection.

                            COUNT ONE: PATENT INFRINGEMENT
                                  (U.S. Patent No. 7,292,870)

        104.    Zipit realleges and incorporates herein the preceding allegations of this Complaint

as if fully set forth herein.

        105.    Defendants have in the past and continue to infringe one or more claims of the

ʼ870 Patent, including but not necessarily limited to representative claims 20, 21, 24, 25, 26, 27,

28, 29, and 30 in violation of 35 U.S.C. §§271 (a), (b), and (c). A representative infringement

claim chart applicable to the accused products of all Defendants is attached as Exhibit “D.”

        106.    Defendants’ infringing acts include, but are not necessarily limited to,

Defendants’ manufacture, use, offering for sale, sale, and importation of Wi-Fi-enabled instant

messaging devices and methods, such as the above listed smartphones, that generate an instant

message that includes an emoji/graphical symbol, such as J, L,        , using an instant messaging

application that was preloaded onto Defendants’ Wi-Fi enabled smartphone by Defendants, such

as “Hangouts,” and/or using a third party instant messaging application that have been

downloaded onto one of the Defendants’ Wi-Fi enabled smartphones, as instructed.

        107.    Defendants’ infringing smartphones include, but are not limited to, the list of

Defendants’ smartphones set forth above.

        108.    As a non-limiting, representative example, Defendants’ smartphones infringe

claims 20, 21, 24, 25, 26, 27, 28, 29, and 30 of Zipit’s ’870 Patent because Defendants’

smartphones generate and send an instant message that includes an emoji/graphical symbol using

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Wi-Fi. Defendants’ smartphones further infringe claim 21 of Zipit’s ’870 Patent because

Defendants’ smartphones comprise a specific key that has an emoji/graphical symbol (J) that is

generated by depressing the key.

          109.   Defendants have in the past and continue to indirectly infringe one or more claims

of the ʼ870 Patent in violation of 35 U.S.C. § 271(b) by actively, knowingly, and intentionally

inducing direct infringement by other persons, including patrons, customers, and end users, by

offering for sale and/or selling Defendants’ Wi-Fi enabled instant messaging devices that

generate an instant message that includes an emoji/graphical symbol, such as J, L,      , using

one of Defendants’ past or present instant messaging applications, and/or a third party instant

messaging application, that has been loaded onto one of Defendants’ Wi-Fi enabled instant

messaging devices, such as Defendants’ smartphones, in the United States and this State without

authority or license from Zipit and in a manner understood and intended to infringe Zipit’s ʼ870

Patent.

          110.   Defendants instruct customers and potential customers who reside in this State

how to send an instant message comprising an emoji/graphical symbol, such as J, L,         , over


Wi-Fi using one of Defendants’ smartphones. For example, such instructions are in the form of

on-line content and user manuals.

          111.   Zipit provided Defendants with written notice of their infringement of the ʼ870

Patent no later than the filing date of this Complaint.

          112.   On information and belief, since receiving notice from Zipit Defendants have not

changed their course of conduct, Defendants have not changed their infringing products,

Defendants have not changed their infringing processes, and Defendants have not changed any of

their instructions or supporting literature and materials due to Zipit’s ʼ870 Patent.


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       113.    On information and belief, as Defendants deliberately avoided confirming their

high probability of wrongdoing, Defendants have and continue to directly infringe, and induce

the direct infringement of, one or more claims of the ʼ870 Patent, with willful blindness.

       114.    Defendants also have in the past and continue to indirectly infringe one or more

claims of the ʼ870 Patent, in violation of 35 U.S.C. § 271(c) by actively, knowingly, and

intentionally contributing to an underlying direct infringement by other persons, such as

Defendants’ patrons, customers, and end users, by offering for sale and/or selling Defendants’

Wi-Fi enabled instant messaging devices that generate an instant message that includes an

emoji/graphical symbol, such as J, L,      , using one of Defendants’ past or present instant

messaging applications, and/or a third party instant messaging application, that has been loaded

onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as Defendants’

smartphones, in the United States without authority or license from Zipit and in a manner

understood and intended to infringe Zipit’s ʼ870 Patent.

       115.    Defendants’ Wi-Fi enabled instant messaging devices that generate an instant

message that includes an emoji/graphical symbol, such as J, L,       , using one of Defendants’

past or present instant messaging applications, and/or a third party instant messaging application,

that has been loaded onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as

Defendants’ smartphones are (i) a component and material part of the inventions claimed in one

or more claims of the ʼ870 Patent, (ii) knowingly and especially designed for use in infringing

one or more claims of the ʼ870 Patent, (iii) intended to be used to infringe one or more claims of

the ʼ870 Patent, and (iv) not a staple item of commerce suitable for substantial non-infringing

use.




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       116.    On information and belief, as Defendants deliberately avoided confirming their

high probability of wrongdoing, Defendants have and continue to infringe, and contribute to the

direct infringement of one or more claims of the ʼ870 Patent, with willful blindness.

       117.    Customers who reside in this State and this District may purchase Defendants’

Wi-Fi enabled instant messaging devices that generate an instant message that includes an

emoji/graphical symbol, such as J, L,      , using one of Defendants’ past or present instant

messaging applications, and/or a third party instant messaging application, that has been loaded

onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as Defendants’

smartphones.

       118.    Defendants instruct customers and potential customers who reside in this State

how to send an instant message comprising an emoji/graphical symbol, such as J, L,           , over


Wi-Fi using one of Defendants’ smartphones. For example, such instructions are in the form of

on-line content and user manuals.

       119.    On information and belief, since receiving notice from Zipit Defendants have not

changed their course of conduct, Defendants have not changed their infringing products,

Defendants have not changed their infringing processes, and Defendants have not changed any of

their instructions or supporting literature and materials due to Zipit’s ʼ870 Patent.

       120.    Defendants’ infringement of the ʼ870 Patent have been, and continue to be,

objectively reckless, willful and deliberate, entitling Zipit to increased damages pursuant to 35

U.S.C. §284 and to attorneys’ fees pursuant to 35 U.S.C. §285.

       121.    Zipit is entitled to: (i) damages adequate to compensate it for Defendants’

infringement of the ʼ870 Patent, which amounts to, at a minimum, (i) a reasonable royalty; (ii)

treble damages; (iii) attorneys’ fees; (iv) costs; and (v) a permanent injunction.


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                            COUNT TWO: PATENT INFRINGEMENT
                                  (U.S. Patent No. 7,894,837)

        122.    Zipit realleges and incorporates herein the preceding allegations of this Complaint

as if fully set forth herein.

        123.    Defendants have in the past and continue to infringe one or more claims of the

ʼ837 patent, including but not limited to representative claims 11, 12, 14, 15, 16, and 20 in

violation of 35 U.S.C. §§271 (a), (b), and (c). A representative infringement claim chart

applicable to all Defendants’ accused products is attached as Exhibit “E.”

        124.    Defendants’ infringing acts include, but are not necessarily limited to,

Defendants’ manufacture, use, offering for sale, sale, and importation of Wi-Fi enabled instant

messaging devices and methods, such as the above listed smartphones, that generate an instant

message that includes an emoji/graphical symbol, such as J, L,        , using an instant messaging

application that was preloaded onto Defendants’ Wi-Fi enabled smartphone by Defendants, such

as “Hangouts,” and/or using a third party instant messaging application that has been

downloaded onto one of the Defendants’ Wi-Fi enabled smartphones, as instructed.

        125.    Defendants’ infringing smartphones include, but are not limited to, the list of

Defendants’ smartphones set forth above.

        126.    As a non-limiting, representative example, Defendants’ smartphones infringe at

least claims 11, 12, 14, 15, 16, and 20 of Zipit’s ’837 patent because they generate and send an

instant message that includes an emoji/graphical symbol using Wi-Fi. On information and

belief, Defendants’ smartphones have been made, used, offered for sale, sold, and/or imported

into the United States and this State.

        127.    Defendants have in the past and continue to indirectly infringe one or more claims

of the ʼ837 Patent, in violation of 35 U.S.C. § 271(b) by actively, knowingly, and intentionally

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inducing direct infringement by other persons, including patrons, customers, and end users, by

offering for sale and/or selling Defendants’ Wi-Fi enabled instant messaging devices that

generate an instant message that includes an emoji/graphical symbol, such as J, L,          , using

one of Defendants’ past or present instant messaging applications, and/or a third party instant

messaging application, that has been loaded onto one of Defendants’ Wi-Fi enabled instant

messaging devices, such as Defendants’ smartphones, in the United States without authority or

license from Zipit and in a manner understood and intended to infringe Zipit’s ʼ837 Patent.

       128.    Defendants instruct customers and potential customers who reside in this State

how to send an instant message comprising an emoji/graphical symbol, such as J, L,            , over


Wi-Fi using one of Defendants’ smartphones. For example, such instructions are in the form of

on-line content and user manuals.

       129.    Zipit provided Defendants with written notice of their infringement of the ʼ837

Patent no later than the filing date of this Complaint. At the same time, Zipit also told

Defendants that Defendants have in the past infringed and continue to infringe the ʼ837 Patent.

As a result, Defendants had notice of their alleged infringement of the ʼ837 Patent.

       130.    On information and belief, since receiving notice from Zipit Defendants have not

changed their course of conduct, Defendants have not changed their infringing products,

Defendants have not changed their infringing processes, and Defendants have not changed any of

their instructions or supporting literature and materials due to Zipit’s ʼ837 Patent.

       131.    On information and belief, as Defendants deliberately avoided confirming their

high probability of wrongdoing, Defendants have and continue to directly infringe, and induce

the direct infringement of, one or more claims of the ʼ837 Patent, with willful blindness.




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       132.    Defendants also have in the past and continue to indirectly infringe one or more

claims of the ʼ837 Patent, in violation of 35 U.S.C. § 271(c) by actively, knowingly, and

intentionally contributing to an underlying direct infringement by other persons, such as

Defendants’ patrons, customers, and end users, by offering for sale and/or selling Defendants’

Wi-Fi enabled instant messaging devices that generate an instant message that includes an

emoji/graphical symbol, such as J, L,      , using one of Defendants’ past or present instant

messaging applications, and/or a third party instant messaging application, that has been loaded

onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as Defendants’

smartphones, in the United States without authority or license from Zipit and in a manner

understood and intended to infringe Zipit’s ʼ837 Patent.

       133.    Defendants’ Wi-Fi enabled instant messaging devices that generate an instant

message that includes an emoji/graphical symbol, such as J, L,       , using one of Defendants’

past or present instant messaging applications, and/or a third party instant messaging application,

that has been loaded onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as

Defendants’ smartphones are (i) a component and material part of the inventions claimed in one

or more claims of the ʼ837 Patent, (ii) knowingly and especially designed for use in infringing

one or more claims of the ʼ837 Patent, (iii) intended to be used to infringe one or more claims of

the ʼ837 Patent, and (iv) not a staple item of commerce suitable for substantial non-infringing

use.

       134.    On information and belief, as Defendants deliberately avoided confirming their

high probability of wrongdoing, Defendants have and continue to infringe, and contribute to the

direct infringement of one or more claims of the ʼ837 Patent, with willful blindness.




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       135.    Customers who reside in this State, and this District, may purchase Defendants’

Wi-Fi enabled instant messaging devices that generate an instant message that includes an

emoji/graphical symbol, such as J, L,        , using one of Defendants’ past or present instant

messaging applications, and/or a third party instant messaging application, that have been loaded

onto one of Defendants’ Wi-Fi enabled instant messaging devices, such as Defendants’

smartphones.

       136.    Defendants instruct customers and potential customers who reside in this State,

including this judicial district, how to send an instant message comprising an emoji/graphical

symbol, such as J, L,      , over   Wi-Fi using one of Defendants’ smartphones. For example, such

instructions are in the form of on-line content and user manuals.

       137.    On information and belief, since receiving notice from Zipit Defendants have not

changed their course of conduct, Defendants have not changed their infringing products,

Defendants have not changed their infringing processes, and Defendants have not changed any of

their instructions or supporting literature and materials due to Zipit’s ʼ837 Patent.

       138.    Defendants’ infringement of the ʼ837 Patent has been, and continues to be,

objectively reckless, willful and deliberate, entitling Zipit to increased damages pursuant to 35

U.S.C. §284 and to attorneys’ fees pursuant to 35 U.S.C. §285.

       139.    Zipit is entitled to: (i) damages adequate to compensate it for Defendants’

infringement of the ʼ837 Patent, which amounts to, at a minimum, a reasonable royalty; (ii)

Zipit’s lost profits; (iii) treble damages; (iv) attorneys’ fees; (v) costs; and (vi) a permanent

injunction.

                                       PRAYER FOR RELIEF

       WHEREFORE, Zipit seeks the following relief:


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          a.     That Defendants are enjoined from further infringement of Zipit’s ʼ870 Patent and

Zipit’s ʼ837 Patent pursuant to 35 U.S.C. §283;

          b.     That Defendants are ordered to pay damages adequate to compensate Zipit for each

Defendant’s infringement of Zipit’s ʼ870 Patent and Zipit’s ʼ837 Patent pursuant to 35 U.S.C. §284;

          c.     That Defendants are ordered to pay Zipit Zipit’s lost profits due to each Defendant’s

infringement of Zipit’s ʼ870 Patent and Zipit’s ʼ837 Patent pursuant to 35 U.S.C. §284;

          d.     That Defendants are ordered to pay Zipit treble damages pursuant to 35 U.S.C.

§284;

          e.     That Defendants are ordered to pay prejudgment interest pursuant to 35 U.S.C.

§284;

          f.     That Defendants are ordered to pay all costs associated with this action pursuant to

35 U.S.C. §284;

          g.     That Defendants are ordered to pay Zipit’s attorneys’ fees pursuant to 35 U.S.C.

§285;

          h.     That Zipit be granted such other and additional relief as the Court deems just and

proper.

                                    DEMAND FOR JURY TRIAL

          Pursuant to Fed. R. Civ. P. 38(b), Zipit demands a trial by jury of all issues triable of right

by a jury.




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    Respectfully submitted, this 4th day of June, 2020.


                                                 /s/ Stamatios Stamoulis


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